 Fill in this information to identify the case:

  Debtor 1       Kasandra Jackson

  Debtor 2

 United States Bankruptcy Court for the: Eastern District of Michigan

 Case number :    16-31350-jda



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              NewRez LLC d/b/a Shellpoint Mortgage Servicing                            Court claim no.                                   13
     creditor:                                                                                      (if known):
     Last 4 digits of any number                                                                    Date of payment change:                   03/01/2021
     you use to identify the debtor's                                    3922                       Must be at least 21 days after date of
     account:                                                                                       this notice

                                                                                                    New total payment:                         $988.82
                                                                                                    Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]    Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $134.94                             New escrow payment: $697.39



Part : 2     Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                     New interest rate:
                     Current Principal and interest payment:                    New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                   New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                     page 1
             16-31350-jda                 Doc 97            Filed 01/25/21         Entered 01/25/21 15:37:46                  Page 1 of 5
Debtor 1 Kasandra Jackson                                                             Case number (if known)           16-31350-jda
                First Name              Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


    /s/ Mary Vitartas                                                                       Date
                                                                                                   01/25/2021
    Signature



Print:                       Mary Vitartas                                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              bkcrm@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                         page 2
                 16-31350-jda                 Doc 97       Filed 01/25/21            Entered 01/25/21 15:37:46                    Page 2 of 5
                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF MICHIGAN
                                             FLINT

IN RE: Kasandra Jackson                                                Case No: 16-31350-jda
                                                                       Chapter 13
                  Debtors(s)
_________________________________________/




                                         CERTIFICATE OF SERVICE

                                            25th day of January, 2021, a true and correct copy of the
        I HEREBY CERTIFY that, on this the _____

foregoing was served by U.S., First Class, and/or electronic transmission to:

Debtor
Kasandra Jackson
3305 Chicago Blvd.
Flint, MI 48503

Attorney
George E. Jacobs
Bankruptcy Law Offices
2425 S. Linden Road
Suite C
Flint, MI 48532

Trustee
Carl Bekofske
400 N. Saginaw Street
Suite 331
Flint, MI 48502

                                                       /S/ Mary Vitartas

                                                       ___________________________________
                                                       MARY VITARTAS
                                                       PADGETT LAW GROUP
                                                       6267 Old Water Oak Road, Suite 203
                                                       Tallahassee, FL 32312
                                                       (850) 422-2520 (telephone)
                                                       (850) 422-2567 (facsimile)
                                                       bkcrm@padgettlaw.net
                                                       Authorized Agent for Creditor




Official Form 410S1                          Notice of Mortgage Payment Change                               page 3
          16-31350-jda      Doc 97     Filed 01/25/21     Entered 01/25/21 15:37:46            Page 3 of 5
16-31350-jda   Doc 97   Filed 01/25/21   Entered 01/25/21 15:37:46   Page 4 of 5
16-31350-jda   Doc 97   Filed 01/25/21   Entered 01/25/21 15:37:46   Page 5 of 5
